         Case 4:16-cv-01946 Document 1 Filed in TXSD on 07/01/16 Page 1 of 22



                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

DELWIN DAVIS, II                                      §
                                                      §
V.                                                    §       CML ACTION NO. 4:16-cv-1946
                                                      §
FIRSTFLEET, INC.                                      §       JURY REQUESTED

                                 DEFENDANT'S NOTICE OF REMOVAL

TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW Defendant, FIRSTFLEET, INC., and hereby gives notice of its removal of

Cause No. 2016-37282 filed in the 333 rd Judicial District Court of Harris County, Texas, to the

United States District Court for the Southern District of Texas pursuant to the provisions of 28

U.S.C. §§ 1441(a) and 1446.

                                           Factual Background

         1.       On or about January 20, 2015, Plaintiff rear-ended a parked FirstF1eet, Inc.'s tractor

near the 16800 block of Sugar Pine Drive in Harris County, Texas. Plaintiff claims he was injured

as a result ofthis collision and filed suit in state court.

         2.       Plaintiff filed suit in state court on June 3, 2016. Service of Citation and Petition

was made on counsel for FirstFleet, Inc. on June 10,2016. In Plaintiffs Petition there is a monetary

claim for damages in an amount greater than $1,000,000, which exceeds the jurisdictional

minimum.       The case has been on file for less than one year.         Removal is both timely and

appropriate.

                                    Basis for Removal and Jurisdiction

         3.       This cause may be removed pursuant to 28 U.S.C. § 1441(a). "[A]ny civil action

brought in State court of which the district courts of the United States have original jurisdiction,




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        Case 4:16-cv-01946 Document 1 Filed in TXSD on 07/01/16 Page 2 of 22




may be removed by the defendant ... , to the district court of the United States for the district and

division embracing the place where such action is pending." This Court has jurisdiction over this

matter under 28 U.S.c. § 1332 because there is complete diversity of citizenship and the amount in

controversy is greater than $1,000,000.00.

                                   Full Diversity Between the Parties

Complete Diversity o/Citizenship

         4.       To have diversity of citizenship, each plaintiff must have a different citizenship from

each defendant. 28 U.S.C. § 1332. Complete diversity of citizenship exists between the parties as

the Plaintiffis a exas citizens and Defendant is not a Texas corporation.

         5.       Plaintiff, Delwin Davis, II, is a resident and citizen of the State of Texas.

         6.       Defendant, FirstFleet, Inc. is incorporated in Tennessee and has its principal place of

business in Murfreesboro, Tennessee.

Amount in Controversy

         8.       In order for diversity jurisdiction to exist, the amount in controversy must exceed

$75,000.00, exclusive of interest and costs. 28 U.S.C. § 1332(a).

         9.       Plaintiff is seeking more than $1,000,000.00 in damages, as stated in his Petition.

                                  Removal is Timely and Appropriate

         10.      If the plaintiff creates diversity jurisdiction sometime after filing the initial

complaint, the defendant has one year from the commencement of the suit to remove. 28 U.S.C. §

1446(b). A defendant has 30 days to remove a civil action after receipt of the first pleading or other

paper that establishes the jurisdictional grounds. 28 U.S.C. § 1446(b). When diversity is the basis

for removal, the defendant can rely on the plaintiffs voluntary assertion of damages within the

complaint to meet the monetary jurisdictional requirement for diversity. S. Ws. Erectors, Inc. v.




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Infax, Inc., 72 F.3d 489, 492 (5th Cir. 1996).            "The burden of establishing subject matter

jurisdiction in federal court rests on the party seeking to invoke it." St. Paul Reinsurance Co. v.

Greenberg, 134 F.3d 1250, 1253 (5th Cir. 1998). Here, Plaintiffs Pleading voluntarily asserts an

amount in controversy in excess of $75,000.00. This removal is filed within the thirty (30) days of

the service of Plaintiff's Petition. The removal is both timely and appropriate.

                                            Jury Demanded

         11.      Defendant requests that the case be tried before a jury.

                                     Consent of Served Defendant

          12.     Defendant FirstFleet, Inc. has been properly served and consents to this removal.

                         Compliance with Local Rule and Notice Requirements

          14.     Pursuant to 28 U.S.C. § 1446 and Local Rule 81, the following documents are

attached to this Notice:

                  Exhibit A         List of State Court Filings

                  Exhibit B         Civil Process Request

                  Exhibit C         Civil Case Information Sheet

                  Exhibit D         Plaintiff's Original Petition and Requests for Disclosure

                  Exhibit E         Retum of Citation with affidavit

Defendant knows of no orders signed by the state judge.

         15.      Pursuant to 28 U.s.C. 1446(d), written notice of the filing of this instrument will be

given to Plaintiff. A true and correct copy of this Notice of Removal will also be attached as an

exhibit with the written Notice of Removal filed with the clerk of the state court.




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        Case 4:16-cv-01946 Document 1 Filed in TXSD on 07/01/16 Page 4 of 22




                                                   RespectMly submitted,

                                                   /s/ Roger D. Oppenheim

                                                    Roger D. Oppenheim
                                                    FBN: 14206
                                                    SBN: 15292400
OF COUNSEL:
LORANCE & THOMPSON, P.C.
2900 North Loop West, Suite 500
Houston, TX 77092
713/868-5560
713/864-4671 (fax)
rdo@lorancethompson.com
ATTORNEY FOR DEFENDANT
FIRSTFLEET, INC.
                                 CERTIFICATE OF SERVICE

       On this 1st day of July, 2016, a ttue and correct copy of the foregoing instrument has been
provided to all parties bye-filing and/or telefax transmission.

Mr. Jason Webster
THE WEBSTER LAW FIRM
6200 Savoy Drive, Ste. 150
Houston, TX 77036
tlling@thewebsterlawfirm.com
                                                    /s/ Roger D. Oppenheim

                                                     Roger D. Oppenheim




582370.1 PLD 0002686 10380 RDO
       Case 4:16-cv-01946 Document 1 Filed in TXSD on 07/01/16 Page 5 of 22



                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

DELWIN DAVIS, II                                   §
                                                   §
v.                                                 §       CIVIL ACTION NO. 4:I6-cv-1946
                                                   §
FIRSTFLEET, INC.                                   §       JURY REQUESTED

                                INDEX OF MATTERS BEING FILED

        Defendant, FIRSTFLEET, INC., in connection with the removal of this case to the United

States District Court for the Southern District of Texas, Houston Division, files its index of matters,

as follows:

                 Exhibit A        List of State Court Filings

                 Exhibit B        Civil Process Request

                 Exhibit C        Civil Case Information Sheet

                 Exhibit D        Plaintiff's Original Petition and Requests for Disclosure

                 Exhibit E        Return of Citation with affidavit

                                                       Respectfully submitted,

                                                       /s/ Roger D. Oppenheim

                                                        Roger D. Oppenheim
                                                        FBN: 14206
                                                        SBN: 15292400
OF COUNSEL:
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2900 North Loop West, Suite 500
Houston, TX 77092
713/868-5560
713/864-4671 (fax)
rdo@lorancethompson.com

ATTORNEY FOR DEFENDANT
FIRSTFLEET, INC.




582370.1 PLD 000268610380 RDO
        Case 4:16-cv-01946 Document 1 Filed in TXSD on 07/01/16 Page 6 of 22



                                 CERTIFICATE OF SERVICE

       On this 1st day of July, 2016, a tnJe and correct copy of the foregoing instrument has been
provided to all parties bye-filing and/or telefax transmission.

Mr. Jason Webster
THE WEBSTER LAW FIRM
6200 Savoy Drive, Ste. 150
Houston, TX 77036
filing@thewebsterlawfirm.com

                                                    /s/ Roger D. Oppenheim

                                                    Roger D. Oppenheim




582370.1 PLD 0002686 10380 RDO
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Office of Harris 4:16-cv-01946    Document
                       District Clerk          1 Filed in TXSD on 07/01/16 Page 7 of Page
                                      - Chris Daniel                                 22 I of 1



 HCDistrictclerk.com                    DAVIS, DELWIN II vs. FIRSTFLEET INC                       6/29/2016
                                        Gause: 201637282     CDI: 7  Court: 333

 DOCUMENTS
 Number           Docijment                                                       Post Date            Pgs
                                                                                  Jcjgm
 70791606         Citation~Firstf1eet   Inc.                                           06/2212016      2
 70551682         Civil Process Pick-Up Fann                                           06/0612016
 70442897         Plaintiffs Original Petition and Request for Disclosure              06/03/2016      6
  .>   70442898   Civil Case Information Sheet                                         06/0312016      2
  .>   70442899   Civil Process Request                                                06/03/2016      2




                                                                                              ~ DEFENDANT'S
                                                                                              §   EXHIBIT

                                                                                              ~~
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http://www.hcdistrictc1erk.com/edocs/public/CaseDetailsPrinting.aspx?Get=C3SD3n/iX/H... 6/29/2016
                  Case 4:16-cv-01946 Document 1 Filed in TXSD on 07/01/16 Page 8 of 22
                                                                                                        6/3/20164:41:49 PM
                                                                                                        Chris Daniel - District Clerk
                                                    CML PROCESS REQUEST                                 ~~~~rO~~uNn~ 10973730
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CASE NUMBER:                                                      CORRENTCOURT:                                                      _

TYPE OF INSTRI)MENT TO BE SERVED (See Reverse For Types):              PlaintiffsQrigin.aJ PetitiQn and Request fQr DisclQsure
FILE DATE OF MOTION:                                                      06/03/2016
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SERVICE TO BE ISSUED ON (please List Exactly As The Name Appears In The Pleading To Be Served):
I.   NAME: -Ets.Lt"'FJ"e"'e1,t,J,lJJ.n;;,c                                                                                            _
     ADDRESS:          2 NQrth JacksQn Street, Suite 605, MQntgQmery. ;\Jabama 361 04-3821
     AGENT, (ifapplicable):           ex Corporation System
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ATTORNEY (OR ATTORNEY'S AGENT) REQUESTING SERVICE:
NAME: Jason C Wehster                                                  TEXAS BAR NOJID NO, -"2"'4"'0..L33".3"'-ul S>-                     _
MAILING ADDRESS: ..6200 Sayoy Driye, Suite ISO,               HouslQn~ZZO..L3>.L6                                                            _
PHONE NUMBER:                 713                  581-3900                   FAX NUMBER:        713                581-3907
                               area code           phone number                                  area code              fax number

EMAIL ADDRESS: filing@thewebsterlawfirm.cQm

                                                                                                                          ~ DEFENDANT'S
                                                                                                                          ~     EXHIBIT
                                                                  Page 1of2

                                                                                                                         ! -f>-
                 Case 4:16-cv-01946 Document 1 Filed in TXSD on 07/01/16 Page 9 of 22


   SERVICE REQUESTS WInCH CANNOT BE PROCESSED BY TI-IIS OFFICE WILL BE I-IELD FOR 30 DAYS PRIOR TO
   CANCELLATION. FEES WILL BE REFUNDEJ;l ONLY UPON REQUES'f, ORAT THE DISPOSITION OF THE CASE.
   SERVICE REQUESTS MAYBE REINSTATED UPON APPROPRIATE ACTION BY THE PARTIES.



INSTRUMENTS TO BE SER\!ED:                                                  PROCESS TYPES:
(Fill In Instrument Sequence Number, i.e. 1st, 2nd, etc.)
                                                                            NON WRIT:
ORIGINAL PETITION                                                           CITATION
       AMENDED PETITION                                                     ALIAS CITATION
       SUPPLEMENTAL PETITION                                                PLURIES CITATION
                                                                            SECRETARY OF STATE CITATION
                                                                            COMMISSIONER OF INSURANCE
COUNTERCLAIM                                                                HIGHWAY COMMISSIONER
      AMENDED COUNTERCLAIM                                                  CITATION BY PUBLICATION
       SUPPLEMENTAL COUNTERCLAIM                                            NOTICE
                                                                            SHORT FORM NOTICE
CROSS-ACTION:
       AMENDED CROSS-ACTION                                                 PRECEPT (SHOW CAUSE)
       SUPPLEMENTAL CROSS-ACTION                                            RULE 106 SERVICE

THIRD-PARTY PETITION:                                                       SUBPOENA
        AMENDED THIRD-PARTY PETITION
        SUPPLEMENTAL THIRD-PARTY PETITION                                   WRITS:
                                                                            ATTACHMENT (pROPERTY)
INTERVENTION:                                                               ATACHMENT (WITNESS)
       AMENDED INTERVENTION                                                 ATTACHMENT (PERSON)
       SUPPLEMENTAL INTERVENTION

INTERPLEADER                                                                CERTIORARI
       AMENDED INTERPLEADER
        SUPPLEMENTAL INTERPLEADER                                           EXECUTION
                                                                            EXECUTION AND ORDER OF SALE

                                                                            GARNISHMENT BEFORE JUDGMENT
INJUNCTION                                                                  GARNISHMENT AFTER JUDGMENT
MOTION TO MODIFY
                                                                            HABEAS CORPUS
SHOW CAUSE ORDER                                                            INJUNCTION
                                                                            TEMPORARY RESTRAINING ORDER
TEMPORARY RESTRAINING ORDER
                                                                            PROTECTIVE ORDER (FAMILY CODE)
                                                                            PROTECTIVE ORDER (CIVIL CODE)

BILL OF DISCOVERY:
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     ORDER TO: - - - - - - - : - - - - - - c : - : - - - - -
                                       (specify)                            POSSESSION (pROPERTY)
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                  Case 4:16-cv-01946 Document 1 Filed in TXSD on 07/01/16 Page 10 of 22


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        "NOTIFIED BY: Ne(!SOH 0146'0



        . DATE: 6/6/16



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                  Process papers prepared by:               ~~

                  Date: Monday. June 06. 2016 30 days waiting 07· 06 - 16

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                  "(CONTACT NUMBER)                                    (SIGNATURE)

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                  Case 4:16-cv-01946 Document 1 Filed in TXSD on 07/01/16 Page 11 of 22
                                                                                                                                                 6/3/2016 4:41 :49 PM
                                                                CIVIL CASE INFORMATION SHEET                                        Chris Daniel- District Clerk
                                                                                                                                    Harris County
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 A civil case information sheet must be completed and submitted when an original petition or application is filed to initiate a new civil, family law, probate, or mental
 health case or when a post-judgment petition for modification or motion for enforcement is filed in a family law case. The information should be the best available at
 the time Offilin~g'~@i~1@~~~i

                                                                                                                                                   .ttomey for PlaintifflPetitioner
Name:                                      Email:                                                                                                OPro Se PlaintifflPetitioner
                                                                                                                                                 OTitie IV·D Agency
 Jason C. Websler                           filing@lhewebslerlawfirm.c9                    Delwin Davis, II                                      DOlher;                                                        ~


 Address:                                  Telephone:
                                                                                                                                                 Additional Parties in Child Support Case:

                                                                                        Defendant(s)!Respondent(s):                              Custodial Parent:
City/StatclZip:                            Fax:
                                                                                        _.Eirn.FledJn.c,                                   _
                                           JZ.U)..5.8L:J9.0LZ_ _                                                                                 Non~Custodial        Parent:

 Signature:                                 State Bar No:
                                                                                                                                                 Presumed Father:
 lsi Iason C. Weqsl",e±.r          _           24033318
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 Debt/Contract                         DAssault/Battery                        DEminent Domain/                             Annulment                               Enforcement   <

     DConsumerlDTPA                    DConstmction                              Condemnation                             DDeclare Marriage Void                  OModification-C~stody
     DDebtlContract                    DDefamation                             OPartition                                 Divorce                                 DModification-Other
     DFraud/Misrepresentation          Malpractice                             DQuiet Title                                 DWith Children                   ;m:;~,;, 'r,'·, ,""-, '('IT'itl~':IY-:::I>'lXi:!i",t\Uif'';   ,
     DOther Debt/Contract:              DAccounting                            DTrespass to Try Title                       DNoChiidren                          DEnforcement/Modification
                                        DLegal                                 DOther Property:                                                                  DPaternity
 FOI'ec/OSllre                          DMedical                                                                                                                 DReciprocals (UIFSA)
   DHome Equity-Expedited               DOther Professional                                                                                                      DSupport Order
   QOther Foreclosure                       Liability:
 OFranchise
 Drnsurance                            ~Motor Vehicle Accident
 DLandlord/Tenant                      DPremises                               DExpunction                                  Enforce Foreign                       DAdoptionJAdoption with
 DNon·Competition                      Produot Liability                       DJLldgment Nisi                               Judgment                             , Tentlinatiori
 DPartnership                            DAsbestos/Silica                      DN()n~Disclosure                            DHabens Corpus                         DChiid Protection
 DOther Contract:                        DOther Product Liability              OSeizurc/Fol1biture                         DName Change                           DChild Stipport
                                            List Product:                      OWrit of Habeas Corpus-                     DProtective Order                      DCustody or-Visitation
                                                                                 Pre-indictment                            DRemoval of Disabilities             i DOestatiomil Patenting
                                       DOther Injury or Damage:                Dather:              _                        of Minority                          DOrandparent Access
                                                                                                                           DOlh,,;                                DParentage/Paterniiy
                                                                                                                                                                  DTennination of Parental
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 DDiscrimination                        OAdministrative Appeal                 DLawyer Discipline
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 DTermination                             Competition                          DSecuritieslStock
 DWorkers' Compensation                 OCode Violations                       DTortious Interference
 DOther Employment:                     DForeign Judgment                       DOlher;                       _
                                        Dlntellectual Property

                                                                                                  Probate & Mental Health
                                        Probate/Wills/Intestate Administration                                     DGuardianship-Adult
                                          DDependent Administration                                                DGuardianship-Minor
                                           o independent Administration                                            OMental Health
                                          Dather Estate Proceedings                                                 DOlh,,;                              _


     Appeal from Municipal or Justice Court                                       Judgment                                               Prejudgment Remedy
    DArbitration.relatcd                                                                                                               DProtective Order
    DAttachment                                                                                                                        DReceiver
    OBiIl of Review                                                                                                                    OSequestration
    DCertiorari                                                                                                                        DTemporary Restraining Order/Injunction
    DClass Action                                                                                                                      DTumover
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       Less than $100,000, including damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney fees
   DLess than $100,000 and non-monetary relief
   DOver 1100, 000 bul nol more Ihan 1200.000                                                                                                       ;:r DEFENDANT'S
   DOver $200,000 but not more than 51,000,000                                                                                                      m           EXHIBIT
1l,.~IXI~O;;v;.:e;,:,r;;I;;I,;;OO;;;O;;;.o~o;,:;O===============================-1                                                                  -"
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             Case 4:16-cv-01946 Document 1 Filed in TXSD on 07/01/16 Page 12 of 22


                 Instructions for Completing the Texas Civil Case Information Sheet
A civil case information sheet must be completed and submitted \vhen an original petition or application is tiled to initiate a new civil,
family law, probate, or mental health case or when a post-judgment petition for modification or motion for enforcement is tiled in a
lamily law case. The information should be the best available at the tlme of filIng. If the origInal petition, application or post-
judgment petition or motion is e-"filed, the case information sheet must not be the lead document.

This sheet, required by Rule 78a of the Texas Rules of Civil Procedure, is intended to collect inlormation that will be used for
statistical and administrative purposes only. It neither replaces nor supplements the filings or service of pleading or other documents
as required by law or rule. The sheet does not constitute a discovery request, response, 01' supplementation, and it is not admissible at
trial.

The attorney or self-represented (pro se) plaintiff/petitioner filing the case or post-judgment petition or motion should complete tbe
sheet as follows:

1. Contact information

   a) Contact information for person completing case information sheet. Enter the following information:
      • name;
      • address;
      • city, state, and zip code;
      • email address;
      • telephone number;
      • fax number, if available;
      • State Bar number, ifthe person is an attorney; and
      • signature. (NOTE: When a case information sheet is submitted electronically, the signature may be a scanned image 01'
         "lsI" and the name of the person completing the case information sheet typed in the space where the signature would
         otherwise appear.)

   b) Names of parties in the case. Enter the name(s) ofthe:
      (NOTE: If the name ofa party to a case is confidentiat, enter the party's initials rather than the party's name.)
       • plaintiff(s) or petitioner(s);
       • defendant(s) or respondent(s); and
       • in child support cases, additional patties in the case, including the:
           o custodial parent;
           o non-custodial parent; and
           o presumed father.

         Attach an additional page as necessary to list all parties.

   .c) Person or entity completing sheet is. Indicate whether tbe person completing the sheet, or the entity for wbich the sheet is
       being completed, is:
       • an attorney for the plaintiffor petitioner;
       • a pro se (self~represented) plaintiffol' petitioner;
       • the Title IV-0 agency; or
       • other (provide name of person or entity).

2. Case type.
    Select the case category that best reflects the most important issue in the case. You must select only one.

3. Procedure or remedy.
    If applicable, select any ofthe available procedures 01' remedies being sought in the case. You may select more tban one.

4. Damages sought.
    Select the damages being sought in the case:
    (NOTE: If the claim is governed by the Family Code, do flOt indicate the damages sought.)
      • only monetary reliefof$100,000 or less, including damages of any kind, penalties, costs, expenses, pre-judgment interest
         and attorney fees;
      • monetary relief over $100,000 or less and non-monetary relief;
      • monetary relief over $ I 00,000 but nor more tban $200,000;
      • monetary relief over $200,000 but less than $1,000,000; or
      • monetary relief over $1,000,000.
       Case 4:16-cv-01946 Document 1 Filed in TXSD on 07/01/16 Page 13 of 22

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                                                                                                                                 Chris Daniel ~ District Clerk Harris County
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                                          2016-37282 I Court: 333                                                                                          By: Nelson Cuero
                                                                                                                                                Filed: 6/3/2016 4:41:49 PM

                                                       Canse No.                                     _

                                                                                 §                   IN TlIE I)ISTRICT COURT OF
DELWIN DAVIS, II                                                                 §
                                                                                 §
Plaintiff,                                                                       §
                                                                                 §
v.                                                                               §                         lIARRIS COUNTY, TEXAS
                                                                                 §
FffiSTFLEET, INC.                                                                §
                                                                                 §
Defendant.                                                                       §
                                                                                 §
                                                                                 §                _ _ _ JUDICIAL DISTRICT

            PLAINTIFF'S ORIGINAL PETITION AND REOUEST FOR DISCLOSURE

TO THE HONORABLE JUDGE OF SAID COURT:

            COMES NOW, DELWIN DAVIS, II, Plaintiff in the above entitled and numbered cause,

complaining of and against, FffiSTFLEET, INC., Defendant herein, and for cause of action would

respectfully show unto the Court the following:


                                             I.          I)ISCOVERY CONTROL PLAN

1.1         Pursuant to Rule 190.3 of the Texas Rules of Civil Procedure, Plaintiff alleges that

discovery in this case should be conducted under Level III.

                                                                 II.         PARTIES

2.1.        Plaintiff Delwin Davis, II, is a resident of Harris County, Texas.

2.2.        Defendant, FirstFleet Inc., is an Alabama corporation engaged in interstate commerce and

doing business in the State of Texas and can be served through its registered agent CT Corporation

System located at 2 North Jackson Street, Suite 605, Montgomery, Alabama 36104-3821.




                                               III.         VENUE AND JURISDICTION


~!!!!!!!..........!!!!!!!~!!!!!!!!!!!!!!. ....!!!!!!!!!!!!!!.....!!!!!!!!!!!!!!!!!!!!!!.....!!!!!!!!!!!!!!!!!!!!!!!!!!!!. . . ., DEFENDANT'S
Plaintiff's Original Petition and Requestfor Disclosure                                                       §        EXHIBIT                      Page I

                                                                                                               ~~    --D-
      Case 4:16-cv-01946 Document 1 Filed in TXSD on 07/01/16 Page 14 of 22




3.1      Venue is proper and maintainable in Harris County, Texas under §15.002(a)(l) of the

Texas Civil Practice & Remedies Code because all or a substantial part of the events or

omissions giving rise to the claims made the basis of this lawsuit occurred in Harris County,

Texas.

3.2      This Court has jurisdiction over the lawsuit because the amount in controversy exceeds

this Court's minimum jurisdictional requirements.

3.3      Defendant transports products and services throughout the United States, including, but

not limited to the State of Texas, knowing that they are engaging in interstate commerce and are

subject to the laws of the states in which they are traveling.

3.4      Defendant, therefore, had a reasonable expectation that it would be hailed into any

Court within these United States in which they engaged in commerce, including a Court in the

State of Texas, by reason of injecting its products and/or services into a stream of

commerce, especially given that it owns/operates tractor-trailers which facilitates intrinsically

interstate and international travel.

                                                IV.       FACTS

4.1      On or about January 20,2015, at approximately 9:00 p.m., Plaintiff Delwin Davis, II, was

headed southbound on Sugar Pine Drive to his home near the 16800 block. On the same stretch of

Sugar Pine Drive, a tractor-trailer owned by Defendant, FirstFleet Inc., was parked in Plaintiffs

driving lane. While parked, the tractor-trailer had no emergency lights, hazard lights, or any other

lighting to bring awareness to any driver that a tractor-trailer was parked in a driving lane. Plaintiff

swerved to the left in an attempt to avoid the collision but still struck the rear of the parked tractor-

trailer, suffering serious injuries. At the time of the incident, there was no operator or driver inside

the parked tractor-trailer.



                                                      ....-
Plaintiff's Original Petition and Requestfor Disclosure                                            Page 2
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4.2      Nothing that Plaintiff did or failed to do on the occasion in question caused or in any way

contributed to his injuries. Due to the actions of the Defendant in this incident, at the time of the

collision, there were little to no maneuvers that any driver in Plaintiff's position could have taken to

avoid this collision.

4.3      The collision was proximately caused by the negligence and gross negligence ofDefendant.

                         V.       NEGLIGENCE AGAINST FIRSTFLEET INC.

5.1.     On information and belief, the unknown driver of the parked tractor-trailer, was an agent

and/or servant of Defendant, FirstFleet Inc. As such, Defendant, FirstFleet, Inc. is responsible for

the conduct of the unknown driver due to the master-servant relationship which existed, and under

the doctrine of Respondeat Superior. As such, Defendant FirstFleet, Inc. is responsible for the

conduct ofits driver among other acts and omissions of negligence which may be shown at the trial

ofthis cause.

5.2.     Additionally, and without waiving any of the foregoing, said Defendant, FirstFleet Inc.

negligently entrusted the vehicle and duties and responsibilities to the driver, because it knew and/or

had reason to know that he/she was not a safe and prudent driver. The negligence was a proximate

cause ofPlaintiff's injuries.

5.3.     Each of these acts and omissions, singularly or in combination with others, constitute

negligence which was the proximate cause ofthis incident and the injuries sustained by Plaintiff.

5.4.     Plaintiffwould show that nothing that Plaintiff did, or failed to do, in any way contributed to

this accident.
                                           VI. PUNITIVE DAMAGES

6.1      Plaintiff hereby incorporates by reference, as if fully set forth herein, all preceding

paragraphs.

6.2       The acts and/or omissions ofthe Defendant, as set forth herein, were also such knowing

and willful failures to abide by the traffic laws of the state of Texas as well as the Federal Motor

Carrier Safety Regulations, they constitute malicious, willful, wanton, grossly negligent and/or



Plaintiff's Original Petition and Request for Disclosure                                          Page 3
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reckless conduct. Said acts and/or omissions proximately caused or contributed to Plaintiffs

injuries as such give rise to, and warrant, the imposition by a jury of significant punitive damages

in an amount to be determined by the jury of no more than $10 million dollars against Defendant.

                                               VII.       DAMAGES

7.1     Plaintiff seeks the following elements of damage, which exceed the minimum jurisdictional

limits ofthis Court excluding interest and costs:

        a)       Physical pain and mental anguish in the past;

        b)       Physical pain and mental anguish that, in reasonable probability, Plaintiff will
                 suffer in the future;

        c)       Physical impairment sustained in the past;

        d)       Physical impairment that, in reasonable probability, Plaintiff will suffer in the
                 future;

        e)       Medical care expenses incurred in the past;

        f)       Medical care expenses that, in reasonable probability, Plaintiff will suffer in the
                 future;

        g)       Physical disfigurement in the past;

        h)       Physical disfigurement that, in reasonable probability, Plaintiff will suffer in the
                 future;

        i)       Loss of earning capacity sustained in the past;

        j)       Loss of earning capacity that, in reasonable probability, Plaintiff will suffer in the
                 future;

        k)       Pre-judgment and post-judgment interest; and,

        I)       All other damages to which Plaintiff is justly entitled.

7.2     Plaintiff reserves the right to plead additional and more specific damages in the future as

more facts become known. Plaintiff seeks both past and future damages. Damages far exceed

the minimum jurisdictional limits of this Court. As such, Plaintiff affirmatively pleads that he




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seek monetary relief over $1,000,000.00, including damages of any kind, penalties, costs, expenses,

pre-judgment interest, and attorneys' fees; and a demand for all the other reliefto which the parties

deem themselves entitled.

                          VIII. DAMAGES CONSIDERED SEPARATELY

8.1     Plaintiff respectfully asserts his request that Plaintiff be allowed to have the elements of

damages considered separately and individually for the purpose of determining the sum of

money that will fairly and reasonably compensate Plaintiff for the injuries, losses and damages

incurred, and to be incurred, and that each element of Plaintiff's damages be considered

separately and individually, segregating the past and future losses, so that pre-judgment interest

due Plaintiff may be computed.

                                         IX.      RULE 193.7 NOTICE

9.1     Pursuant to Rule 193.7, Texas Rules of Civil Procedure, Plaintiff intends to rely upon the

authenticity of any document a Defendant produces in discovery.

                                  X.       REQUESTS FOR DISCLOSURE

10.1     Under Texas Rules of Civil Procedure 194, Plaintiff requests that Defendant disclose, within

(50) days of service ofthe request, the information material described in Rule 194.2.

                                            XI.      JURY DEMAND

11.1     Plaintiff demands a trial by jury to resolve all fact issues in this case and has paid the

appropriate fee.

                                                  XII.    PRAYER

         WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that the Defendant be cited to

appear and answer herein, and that upon final trial hereof, Plaintiff recovers from said Defendant, a

sum within the jurisdictional limits of the Court, costs of Court, pre-judgment and post-judgment

interest at the legal rate, and for any and all further relief, both general and special, legal and



Plaintiff's Original Petition and Requestjor Disclosure                                        Page 5
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equitable to which Plaintiff may be justly entitled.
                                                          Respectfully submitted,

                                                          THE WEBSTER LAW FIRM

                                                          By: lsI Jason C. Webster
                                                          JASON C. WEBSTER
                                                          State Bar No. 24033318
                                                          HEIDI O. VICKNAIR
                                                          State Bar No. 24046557
                                                          OMAR R. CRAWDHARY
                                                          State Bar No. 24082807
                                                          DAVID A. SPRADLING
                                                          State Bar No. 24099976
                                                          6200 Savoy Drive, Suite 150
                                                          Houston, Texas 77036
                                                          713.581.3900 (telephone)
                                                          713.581.3907 (facsimile)
                                                          filing@thewebsterlawfirm.com

                                                           ATTORNEYSFORPLAINT~




Plaintiff's Original Petition and Request!or Disclosure                                  Page 6
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P~INTIFF:          DAVIS, DELWIN II                                                          In The   333rd
            v,.                                                                              Judicial District court
DEFENDANT: FIRSTFLEET INC                                                                    of Harris County, Texas
                                                                                             333RD DISTRICT COURT
                                                                                             Houston, TX
                                         CITATION <NON-RESIDENT CORPORATE)
THE STATE OF T~XAS
County of Harris



TO:   FIRsrE'LEET INC (AN ALABAMA CORPORATION) BY SERVING l'HROUGH ITS
      REGISTERED AGENT CT CORPORATION SYSTF~
      2 NORTH JACKSON STREET SUITE 605     MONTGOMERY At 30104 - 3821

      Attached is a copy of J.:..tATN'l'TE'F'S ORIGINAL PP.;TITION AND               REQU~9.T   P'OR DISCLOSURE

This instrument was filed on the ~rd day of June. 2016, in the above cited cause number
and court. The instrument attached describes the claim against you.

    YOO HAVE BEEN SUED, You may employ an attornElY. If you or Y0\l.r attorney do not file a
written answer with the District Clerk who issue4 this citation by 10:00 a.m. on the Monday
next following the expiration of 20 days aftar you were served this citation and petition,
a default judgment &ay be taken against you.
TO OFFICER SERVING:
     This citation was issued Oli 6th day of .Tulle, 2016, under; my hand and
seal of Bald Court.



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                                                  ~Of~R~~               ~~
Issued at request of:                        <r~~~\                     CHRIS DANIEL,       D~5tr~ct
                                                                                               Clerk
WEBSTER, JASON CHARLES                       ~                 ~i:      Harris County, Texas


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HOUSTON, TX 77036                            Y'\1). ••• ~ ...... ~'v    (P.O. Box 4651, Houston, Texas 77210)
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                                                                                 Notary Public




                                                                                                                                     ~ DEFENDANT'S
N.rNl'.INIiC.L'                                            '73254364'                                                                ~      EXHIBIT
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Case 4:16-cv-01946 Document 1 Filed in TXSD on 07/01/16 Page 20 of 22




                                               NO, 2016-37282

DELWIN DAIIIS, II                                 §
                                                  §
                                                  §            IN THE 333RD JUDICIAL DISTRICT COURT OF
vs.                                               §            HARRIS COUNTY, TEXAS
                                                  §
FIRSTFLEET, INC.                                  §

                                        AFFIDAVIT OF SERVICE

                                                          •




(SERVER5 ADDRESS)

 2. ON      6-10 ~'l.D II:> (DATE) AT
PETITION, REQUEST FOR DISCLOSURE,
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                                                     Le.)M(TIME) PLAINTIFF'S ORIGINAL
                                         CITATION (NON-RESIDENT CORPORATE) came to hand for
delivery to FIRSTFLEET INC (AN ALABAMA CORPORATION) BY SERVING THROUGH ITS REGISTERED
AGENT CT CORPORATION SYSTEM,

3. ON    ~ - \ 10 - "<.0 lip (DATE) AT 2.. :-l.0     (p \ M (TIME) The above named documents
were delivered to: FIRSTFLEET INC (AN ALABAMA CORPORATiON) BY SERVING THROUGH ITS
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                                                                    My CommIssion Expires May 16, 2018
      Case 4:16-cv-01946 Document 1 Filed in TXSD on 07/01/16 Page 21 of 22



                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

DELWIN DAVIS, II                                 §
                                                 §
v.                                               §       CIVIL ACTION NO. 4:16-cv-1946
                                                 §
FIRSTFLEET, INC.                                 §       JURY REQUESTED

                  LIST OF PARTIES, COUNSEL OF RECORD AND STATUS

        PLAINTIFF:                                           I)EFENDANT:
        Delwin Davis, II                                     FirstFleet, Inc.

ATTORNEYS:

        ATTORNEY FOR PLAINTIFF:                              ATTORNEY FOR DEFENDANT
        Jason Webster                                        Roger D. Oppenheim
        SBN: 24033318                                        SBN: 15293400
        FBN:                                                 FBN: 14205
        THE WESBSTER LAW FIRM                                LORANCE & THOMPSON, PC
        6200 Savoy Drive, Ste. 150                           2900 North Loop West, Ste. 500
        Houston, TX 77036                                    Houston, TX 77092
        713/581-3900                                         713/868-5560
        713/581-3907 (fax)                                   713/864-4671 (fax)
        filing@thewebsterlawfinn.com                         rdo@lorancethompson.com


STATUS OF REMOVED CASE:

        Junli 3, 2016          Plaintiffs Original Petition and Requests for Disclosure

        July 1,2016            Defendant's Notice of Removal

        Defendant, FirstFleet, Inc., has been served with the Plaintiffs Original Petition.
Defendant has not filed responses to written discovery. No depositions have been taken. The
matter has not been mediated. The case has no trial setting or other court ordered deadlines.

                                                      Respectfully submitted,

                                                     /s/ Roger D. Oppenheim

                                                      Roger D. Oppenheim
                                                      FBN: 14206
                                                      SBN: 15292400



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       Case 4:16-cv-01946 Document 1 Filed in TXSD on 07/01/16 Page 22 of 22




OF COUNSEL:
LORANCE & THOMPSON, P.C.
2900 North Loop West, Suite 500
Houston, TX 77092
713/868-5560
713/864-4671 (fax)
rdo@lorancethompson.com
ATTORNEY FOR DEFENDANT
FlRSTFLEET, lNC.

                                 CERTIFICATE OF SERVICE

       On this 1st day of July, 2016, a true and correct copy of the foregoing instrument has been
provided to all parties by e-filing and/or te1efax transmission.

Mr. Jason Webster
THE WEBSTER LAW FIRM
6200 Savoy Drive, Ste. 150
Houston, TX 77036
filing@thewebster1awfirm.com


                                                    lsi Roger D. Oppenheim

                                                     Roger D. Oppenheim




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